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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

a -X
UNITED STATES OF AMERICA eft al.,
ex rel. MARY BIXLER WOOD,

Plaintiffs,

Vv.
14 Civ. 4958 (ER)

AVALIGN TECHNOLOGIES, INC., et al.,

ORDER

Defendants.

 

UNITED STATES OF AMERICA,

Plaintiff-Intervenor,

AVALIGN TECHNOLOGIES, INC. and
INSTRUMED INTERNATIONAL, INC.,

Defendants.

 

WHEREAS, by notice dated August 6, 2019, the United States of America partially
intervened in the above-captioned qui tam action pursuant to the False Claims Act, 31 U.S.C.
§§ 3730(b)(2) and (4).

IT IS HEREBY ORDERED that:

1. The seal shall be lifted as to this Order and any matter occurring in this action on
or subsequent to the date of this Order.

2. All documents submitted in this action before the date of this Order shall remain

under seal and shall not be made public, except to the extent the seal was partially lifted pursuant

 
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to the Court’s prior Orders dated June 12, 2017, December 21, 2018, and May 7, 2019, and
except as provided for in Paragraph 3 below.

3. The seal shall be lifted as to the United States’ Notice of Election to Partially
Intervene, the United States’ Complaint-In-Intervention, the Stipulation and Order of Settlement
and Partial Dismissal entered into by the United States, Defendants Avalign Technologies, Inc.
and Instrumed International, Inc, and the Relator, and the Relator’s Complaint.

4, The parties shall serve all pleadings, motions, and notices of appeal filed in this
action, including supporting memoranda and materials, upon the United States. The United
States may order any deposition transcripts. The United States may seek to intervene in this
action, for good cause, at any time or to seek dismissal of this action.

5. All orders of this Court shall be sent to the United States by the relator.

6. Should the relator or defendants propose that this action be dismissed, settled, or
otherwise discontinued, the party or parties proposing such relief will solicit the written consent

of the United States before applying for Court approval.

SO ORDERED:

HONORABLE EDGARDO RAMOS
UNITED STATES DISTRICT JUDGE

Dated: hes 9, 2019

 

 
